        Case 19-34054-sgj11           Doc 4317 Filed 07/16/25 Entered 07/16/25 09:57:40                        Desc
                                      Letter RE deficiency (BK) Page 1 of 1
BTXN 027 (rev. 06/13)
                                         UNITED STATES BANKRUPTCY COURT
                                           NORTHERN DISTRICT OF TEXAS


In Re:                                                        §
Highland Capital Management, L.P.                             §    Case No.: 19−34054−sgj11
                                                              §    Chapter No.: 11
                                            Debtor(s)         §


Dear Andrew York:

     The above referenced case has been reviewed as part of the Clerk's Office continuing effort to identify cases that
are deficient for specific documents. Our review indicates that this case requires:

                Interim Report
                Trustee's Final Account
                Trustee's Final Report
                341 Meeting Minute Sheet and Exempt Property Report
                Report of Trustee in No−Asset Case and Application for Closing
                Motion to Dismiss debtor's Failure to Attend 341 Meeting
                Other: Please amend the notice of appeal to clarify the appellees verses interested parties.

Please electronically file the requested documents, provide a specific date for which this information will be provided
to the Court, or provide information as to why this case should remain open. Failure to respond within 48 hours from
the date of this letter may result in the Court setting a status conference to determine why the document(s) has not
been filed or the matter may be denied for want of prosecution.



DATED: 7/16/25                                     FOR THE COURT:
                                                   Stephen J Manz, Clerk of Court

                                                   by: /s/Sheniqua Whitaker, Deputy Clerk
                                                   sheniqua_whitaker@txnb.uscourts.gov
